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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            NORTHERN DIVISION

UNITED STATES OF AMERICA,                    Case No. 2:20-cr-25

                   Plaintiff,                Hon. Robert J. Jonker
                                             Chief U.S. District Judge
      v.

HECTOR JAVIER GIL DESIDERIO,

                   Defendant.
                                         /

                           ORDER FOR DETENTION

      Defendant appeared before the undersigned on November 5, 2020, for an initial

appearance and arraignment on an indictment charging him with Reentry of

Removed Alien. The Court has been advised that there is an ICE detainer lodged for

this Defendant, which would make him ineligible for release on bond. Counsel were

advised if there were any updates to Defendant’s ICE status, to let the Court know.

      IT IS HEREBY ORDERED that Defendant shall remain detained pending

further proceedings.

      IT IS SO ORDERED.


Dated:                                  /s/ Maarten Vermaat
                                      MAARTEN VERMAAT
                                      U.S. MAGISTRATE JUDGE
